IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

NASHVILLE DIVISION
EQUAL EMPLOYMENT OPPORTUNITY )
COMMISSION, )
)
Plaintiff, ) CIVIL ACTION NO.
)
Vv. )
)
DURA AUTOMOTIVE SYSTEMS, INC. ) COMPLAINT
)
Defendant. ) JURY TRIAL DEMAND
)

NATURE OF THE ACTION

This is an action under Title | of the Americans with Disabilities Act of 1990 and
Title | of the Civil Rights Act of 1991 to correct employment practices made unlawful by
the Americans with Disabilities Act and to provide appropriate relief to Johnny Gardner,
Charles Rawdon, Annie Corbin, Susan Lowery, Edie Cox, Branson Walker, and a class
of other former and current employees who were adversely affected by those unlawful
practices. As alleged with greater particularity below, Plaintiff Equal Employment
Opportunity Commission (“the Commission”) alleges that Defendant Dura Automotive
Systems, Inc. committed unlawful employment practices in violation of the ADA by
conducting illegal medical examinations and making illegal medical inquiries of its
employees, using selection criteria to screen out persons with disabilities, failing to
maintain the confidentiality of information it obtained from medical examinations that it
conducted on current employees, and by using information it obtained through medical

inquiries and examinations in a manner not in accordance with the ADA in taking

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adverse employment actions against more than 30 employees who tested positive for

legally prescribed narcotic medication. The Commission alleges that as a result of

Defendant's actions, current and former employees, including but not limited to Susan

Lowery, Annie Corbin, Branson Walker, Edie Cox, Johnny Gardner, and Charlene

Rawdon, and a class of other employees, suffered financial losses and serious mental

and emotional injuries as a result of Defendant's actions in violation of the ADA.
JURISDICTION AND VENUE

1 Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331,
1337, 1343 and 1345. This action is authorized and instituted pursuant to Section
107(a) of the ADA, 42 U.S.C. § 12117(A), which incorporates by reference Sections
706(f)(1) and (3) and 707 of Title VII of the Civil Rights Act of 1964 (‘Title VII"), 42
U.S.C. §§ 2000e-5(f)(1) and (3), and Section 102 of the Civil Rights Act of 1991, 42
U.S.C. § 1981a.

. The employment practices alleged to be unlawful were and are now being
committed within the jurisdiction of the United States District Court for the Middle District
of Tennessee, Nashville Division.

PARTIES

3. Plaintiff, the Equal Employment Opportunity Commission (the
Commission), is the agency of the United States of America charged with the
administration, interpretation, and enforcement of Title | of the ADA and is expressly
authorized to bring this action by Section 107(a) of the ADA, 42 U.S.C. § 12117(a),
which incorporates by reference Section 706(f)(1) and (3) of Title VII, 42 U.S.C. §2000e-

5(f)(1) and (3).

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4, At all relevant times, Defendant Dura Automotive Systems, Inc. (“Dura
Automotive”) has continuously conducted business in the State of Tennessee and the
City of Lawrenceburg. Defendant Employer has continuously had at least fifteen
employees.

<F At all relevant times, Defendant Employer has continuously been an
employer engaged in an industry affecting commerce within the meaning of Sections
101(5) of the ADA, 42 U.S.C. § 1211(7), which incorporates by reference Sections 701
(g) and (h) of Title Vil, 42 U.S.C. §§ 2000e (g) and (h).

6. At all relevant times, Defendant Employer has been a covered entity within

the meaning of Section 101(2) of the ADA, 42 U.S.C. § 12111(2.

STATEMENT OF CLAIMS

 

Fe More than thirty days prior to the institution of this lawsuit, Susan Lowery,
Annie Corbin, Branson Walker, Edie Cox, Johnny Gardner, and Charlene Rawdon filed
charges of discrimination alleging violations of the ADA by Defendant Employer. All
conditions precedent to the institution of this lawsuit have been fulfilled.

8. Since at least approximately April, 2007, Defendant Employer has
engaged in unlawful employment practices in violation of Section 102 of the ADA, 42
U.S.C. Section 12112.

9. The unlawful employment practices involved subjecting all of its
employees to tests for legally prescribed medications for which Defendant was not
authorized to test by any statute and doing so without reasonable suspicion that such

medications were affecting these employees in the performance of their jobs. The

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unlawful employment practices further involved suspending in excess of thirty
employees who tested positive for certain legally prescribed medications, requiring
those employees to disclose the medical conditions for which they were prescribed the
medications, requiring them to cease taking the prescribed medications as a condition
of being returned to work, terminating those employees who were unable to work
without the benefit of their prescribed medications, the medical screening operated to
screen out individuals with disabilities, and Defendant failed to maintain confidentiality of
the results of the tests.

10. Defendant implemented and applied an employment policy that is not job
related or consistent with business necessity, and that prevents persons who are taking
legally prescribed narcotic medications from working for Defendant. The policy, as
applied by Defendant to Johnny Gardner, Charles Rawdon, Annie Corbin, Susan
Lowery, Edie Cox, Branson Walker and a class of other former and current employees
of Defendant, denied employment opportunities to the employees who take, or were at
the relevant time taking, legally prescribed narcotic medication in violation of the ADA.

11. The unlawful employment practices included subjecting Annie Corbin to
medical examinations and inquiries that violated the ADA and using the information
obtained therefrom in a manner not in accordance with the ADA.

a. Approximately 22 years ago, Ms. Corbin became employed with
Defendant as a production worker.

b. During 20+ years of employment with Defendant, Ms. Corbin developed
certain medical conditions for which she was prescribed certain medications by her

treating physicians. She continued to perform her job duties while taking these

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medications without them adversely affecting her performance in any way.

Cc. In November, 2006, Ms. Corbin injured her foot while working for
Defendant and was placed by Defendant on a workers’ compensation leave of absence.

d. In April, 2007, Defendant decided to implement a drug free workplace
program pursuant to the Tennessee Drug Free Workplace Program statute, T.C.A.
Section 0-9-101 et seq. In conjunction with implementing this program, Defendant
decided to test all of its production employees. T.C.A. Section 0-9-101 et seq.
incorporates by reference D.O.T. regulations found at 49 CFR § 40.85 authorizing
employers to test for the five classes of illegal drugs. |In addition to testing for the five
classes of illegal drugs described in the D.O.T. regulations, however, Defendant
decided on its own initiative to test for seven other classes of drugs for which Defendant
was not authorized to test by any state or federal statute. These seven classes of drugs
all are legal to take when taken pursuant to legally written prescriptions, and the D.O.T.
regulations state: “lf a positive result occurs that is due to a legally prescribed medicine,
a DOT testing laboratory is required to report the result to the employer as ‘negative.”
49 CFR § 40.85.

Defendant made the decision to test all of its production employees for all of
these drugs without regard for whether Defendant had any cause to suspect that
particular employees were using drugs or that use of drugs were adversely affecting
their job performances. Defendant then, without conducting an individualized
assessment of the effect of these drugs on particular employees’ abilities to perform
their job duties, required all employees who tested positive for any of these seven

classes of legal drugs to stop taking the drugs for which they had tested positive as a

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condition of their returning to work

é. Ms. Corbin was still on workers’ compensation leave of absence in May,
2007, when Defendant told her to go to the facility of a contractor that Defendant had
retained for the purpose of conducting the drug tests of Defendant's employees.
Defendant told Ms. Corbin to bring with her all medications that she was taking. Ms.
Corbin went to the contractor's facility with her medications as Defendant had instructed
her to do. The contractor inquired of her as to the medical condition for which she was
taking each such medication.

f. Ms. Corbin provided a urine sample to a nurse employed by the
contractor. The nurse told her that she had tested positive for certain chemicals.

g. Defendant continued Ms. Corbin's workers’ compensation leave of
absence, but advised her that she would not be allowed to return to work until she
stopped taking her medications and tested negative on another drug screen. Defendant
did not make an individualized assessment of the effect of Ms. Corbin’s medications
upon her ability to perform her job duties, but rather inflexibly applied a blanket policy to
all of its employees who tested positive that they had to stop taking

h. Ms. Corbin stopped taking her medications, tested negative on a drug
screen, and was allowed by Defendant to return to work on or about July 16, 2007.
Without the benefit of her prescription medications, Ms. Corbin experienced excruciating
pain while performing her assigned job duties.

i. On August 1, 2007, Defendant advised Ms. Corbin that it would no longer
have any work for her due to medical restrictions that her treating physicians had placed

on her. Defendant previously had allowed Ms. Corbin to work for years with these same

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medical restrictions.

j. On or about August 9, 2007, Defendant advised Ms. Corbin that it had
terminated her employment.

k. Defendant and Ms. Corbin subsequently agreed upon a workers’
compensation settlement for the injury to her foot.

I. Defendant's medical examination, medical inquiries, and use of the
information obtained from the examination and inquiries to suspend Ms. Corbin and
condition her return to work upon her ceasing to take her prescription medication
without conducting an individual assessment of her ability to perform her job duties
caused Ms. Corbin severe mental and emotional injuries and financial losses, including
lost income.

m. The effect of the practices complained of in paragraphs 11a-! above has
been to deprive Annie Corbin of equal employment opportunities and to otherwise
adversely affect her status as an employee in violation of the ADA.

12. The unlawful employment practices included subjecting Johnny Gardner
to medical examinations and inquiries that violated the ADA, failing to maintain
confidentiality of information Defendant obtained from the medical examinations, and
using the information obtained from these medical examinations and inquiries in a
manner not in accordance with the ADA.

a. Mr. Gardner became employed with Defendant as a production worker in
1990. After approximately two years he became the lead person in the repair
department. Approximately ten years later, he became a lab technician.

b. Beginning in 2000, Mr. Gardner was prescribed certain medications by his

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treating physician for certain medical conditions.

c On or about May 7, 2007, Mr. Gardner arrived at work and was required
by Defendant to submit to a drug test as described in J] 11d above. At that time
Defendant had no cause to suspect that use of drugs was adversely affecting Mr.
Gardner's job performance.

d. Mr. Gardner followed Defendant's instructions to report to a common area
where numerous other employees were waiting to be tested and gave a urine sample to
a nurse employed by the contractor hired by Defendant to conduct Defendant's drug
testing.

e. Mr. Gardner waited in the common area with numerous other employees
until the test was complete. The nurse who tested Mr. Gardner publicly announced in
front of all employees in the area that Mr. Gardner's urine sample had tested positive for
the presence of certain chemicals.

f. Defendant then instructed Mr. Gardner to go to a smaller room nearby and
wait with a group of other employees whose urine samples also had tested positive for
certain chemicals. Employees whose urine had tested negative for any of the
chemicals for which Defendant was testing were instructed by Defendant to return to
their work stations. Every employee in Defendant's factory thus was made aware of
which employees had tested positive and which had tested negative.

q- Defendant met privately with Mr. Gardner and asked him what
medications he was taking and for what medical conditions he was taking each of them.
Defendant then sent him home and instructed him to bring his medications to its drug

testing contractor along with proof that each of those medications had been prescribed

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for him.

h. The following day, Mr. Gardner brought his prescription medications and
proof that he had a prescription for each of them to the contractor. After seeing the
proof that Mr. Gardner had prescriptions for these medications, the contractor reported
to Defendant that the results of Mr. Gardner's drug test were negative.

i. Despite the contractor's report of a negative result on Mr. Gardner's drug
test, Defendant did not allow him to return to work. Rather, Defendant placed him on
unpaid leave of absence.

j. Without conducting an individualized assessment of the effect of Mr.
Gardner's prescription medications on his ability to perform his job duties, Defendant
advised Mr. Gardner that he would have to stop taking his medications and test
negative on another drug screen to return to work. Mr. Gardner stopped taking his
prescription medications and, on June 21, 2007, tested negative on a drug screen.
Defendant allowed him to return to work at that time. Defendant removed Mr. Gardner
from his lab technician job, however, and reassigned him to production jobs that were
more physically strenuous.

k. Without the benefit of his prescription medications, Mr. Gardner
experienced severe pain while performing these physically strenuous jobs, which
caused him to have to take sick days much more frequently than he had previously
during his employment with Defendant.

I. Defendant's medical examination, medical inquiries, disclosure of the
results of the medical examination to Mr. Gardner's co-workers, and use of the

information obtained from the examination and inquiries to suspend Mr. Gardner and

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condition his return to work upon his ceasing to take his prescription medications
caused Mr. Gardner severe mental and emotional injuries and financial losses, including
lost income.

m. The effect of the practices complained of in paragraphs 12a-| above has
been to deprive Johnny Gardner of equal employment opportunities and to otherwise
adversely affect his status as an employee in violation of the ADA.

13. The unlawful employment practices included subjecting Susan Lowery to
medical examinations and inquiries that violated the ADA, failing to maintain
confidentiality of information Defendant obtained from the medical examinations, and
using the information obtained from these medical examinations and inquiries in a
manner not in accordance with the ADA.

a. Charging Party Lowery became employed with Defendant in 1985 as a
production worker. After eight years, she was promoted to a quality control position and
shortly after that to a production supervisor position. At no time during her employment
did Defendant advise her that there was any problem with her performance.

b. Ms. Lowery was prescribed certain medications for certain medical
conditions in 2003.

G. As a supervisor, Ms. Lowery attended training put on by Defendant in
2007 regarding the drug testing Defendant intended to conduct. During that training,
Defendant stated that the drug tests were intended to detect only illegal drug usage.
Defendant said during the training that it would take no action against employees who
were taking medications for which they had prescriptions,

d. On or about May 8, 2007, Ms. Lowery arrived at work and was required by

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Defendant to submit to a drug test as described in {| 11d. above despite Defendant's
having no cause to suspect that use of drugs was adversely affecting Ms. Lowery’'s job
performance.

e. Ms. Lowery followed Defendant's instructions to report to a common area
where numerous other employees were waiting to be tested and gave a urine sample to
a nurse who was conducting drug testing for Defendant.

f. Ms. Lowery waited in the common area with numerous other employees
until the test was complete. The nurse who tested Ms. Lowery publicly announced in
front of all employees in the area that Ms. Lowery’s urine sample had tested positive for
the presence of certain chemicals. Ms. Lowery was one of approximately 30 employees
who was advised they had tested positive that day.

g. Defendant then instructed Ms. Lowery to wait with a group of other
employees whose urine samples also had tested positive for certain chemicals.
Employees whose urine had tested negative for any of the chemicals for which
Defendant was testing were instructed by Defendant to return to their work stations.
Every employee in Defendant's factory thus was made aware of which employees had
tested positive and which had tested negative.

h. Defendant met privately with Ms. Lowery and asked her what medications
she was taking and for what medical conditions she was taking them. Defendant then
sent her home.

i. Defendant placed her on paid leave of absence until May 11. Defendant
instructed Ms. Lowery to report to work on May 11, and she worked each day from May

11 through May 22 without any complaints from Defendant about how she performed

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her job duties.

1: Defendant instructed Ms. Lowery to bring her medications to its drug
testing contractor along with proof that they had been prescribed for her. Ms. Lowery
brought all of her prescription medications and proof that she had a prescription for
each of them to Defendant's drug testing contractor. After seeing the proof that Ms.
Lowery had prescriptions for her medications, the drug testing contractor reported to
Defendant that the results of Ms. Lowery’s drug test were negative.

k. Despite receiving a report that the result of Ms. Lowery’s drug test was
negative, and despite what Defendant had told Ms. Lowery in the training she had
attended that Defendant intended to take no action against employees taking
medications for which they had prescriptions, Defendant advised Ms. Lowery on May
22, 2007, that she would not be allowed to work any more until she stopped taking her
prescription medications and tested negative on another drug screen. Defendant so
advised Ms. Lowery without doing an individualized assessment of the effect of her
medications upon her ability to perform her job duties.

I. Ms. Lowery attempted to stop taking her medications, but experienced
excruciating pain when she did so. She thus was not able to stop taking her
prescription medications, and Defendant never allowed her to return to work.

m. Defendant terminated Ms. Lowery's employment on December 30, 2007.

n. Defendant's medical examination, medical inquiries, disclosure of the
results of the medical examination to Ms. Lowery’s co-workers and subordinates, and
use of the information obtained from the examination and inquiries to suspend Ms.

Lowery and condition her return to work upon her ceasing to take her prescription

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medication caused Ms. Lowery severe mental and emotional injuries and financial
losses, including lost income.

oO. The effect of the practices complained of in paragraphs 13a-n above has
been to deprive Susan Lowery of equal employment opportunities and to otherwise
adversely affect her status as an employee in violation of the ADA.

14. The unlawful employment practices included subjecting Branson Walker to
medical examinations and inquiries that violated the ADA, failing to maintain
confidentiality of information Defendant obtained from the medical examinations, and
using the information obtained from these medical examinations and inquiries in a

manner not in accordance with the ADA.

a. Mr. Walker became employed with Defendant as a production worker in
March, 1999.
b. During his employment with Defendant, Mr. Walker developed certain

medical conditions for which he was prescribed certain medications by his treating
physician.

c. On or about May 7, 2007, Mr. Walker arrived at work and was required by
Defendant to submit to a drug test as described in | 11d. above despite Defendant's
having no cause to believe that drug use was adversely affecting Mr. Walker's job
performance.

d. Mr. Walker followed Defendant's instructions to report to a common area
where numerous other employees were waiting to be tested and gave a urine sample to
a nurse who was conducting the drug testing.

e. Mr. Walker waited in the common area with numerous other employees

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until the test was complete. The nurse who tested Mr. Walker publicly announced in
front of all employees in the area that Mr. Walker's urine sample had tested positive for
the presence of certain chemicals.

f. Defendant then instructed Mr. Walker to go to a smaller room nearby and
wait with a group of other employees whose urine samples also had tested positive for
certain chemicals. Employees whose urine had tested negative for any of the
chemicals for which Defendant was testing were instructed by Defendant to return to
their work stations. Every employee in Defendant's factory thus was made aware of
which employees had tested positive and which had tested negative.

g. Defendant met privately with Mr. Walker and asked him what medications
he was taking and for what medical conditions he was taking each of them. Defendant
then sent him home and told him to bring his medications to its drug testing contractor
with proof that they had been prescribed for him.

h. The following day, Mr. Walker brought his prescription medications and
proof that he had a prescription for each of them to Defendant's drug testing contractor.
After seeing the proof that Mr. Walker had prescriptions for these medications,
Defendant's drug testing contractor reported to Defendant that the results of Mr.
Walker's drug test were negative.

i. Despite the report of a negative result on Mr. Walker's drug test,
Defendant did not immediately allow him to return him to work. Defendant placed him
on paid leave of absence from May 7 through May 18, then changed him to an unpaid
leave of absence effective May 21, 2007.

j. Defendant advised Mr. Walker that he would have to stop taking his

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medications and test negative on another drug screen to return to work. Mr. Walker
provided Defendant with a note from his doctor stating the dosages he was taking were
too small for the medications to pose a safety risk, but Defendant nonetheless refused
to allow him to return to work until he stopped taking them. Defendant did not conduct
an individualized assessment of the effect of Mr. Walker's medications upon his ability
to perform his job duties.

k. Mr. Walker stopped taking his prescription medications and, on May 29,
2007, tested negative on a drug screen. Defendant allowed him to return to work at that
time. Without being able to take his prescription medications, however, Mr. Walker
experienced excruciating pain while working for Defendant. He was forced to quit his
employment when Defendant instituted extensive mandatory overtime for Mr. Walker's
department that he was not able to work without being able to take his medications.

I. Defendant's medical examination, medical inquiries, disclosure of the
results of the medical examination to Mr. Walkers co-workers, and use of the
information obtained from the examination and inquiries to suspend Mr. Walker and
condition his return to work upon his ceasing to take his prescription medications
caused Mr. Walker severe mental and emotional injuries and financial losses, including
lost income.

m. The effect of the practices complained of in paragraphs 14a-| above has
been to deprive Branson of equal employment opportunities and to otherwise adversely
affect his status as an employee in violation of the ADA.

15. The unlawful employment practices included subjecting Edie Cox to

medical examinations and inquiries that violated the ADA and using the information

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obtained from these medical examinations and inquiries in a manner not in accordance
with the ADA.

a. Ms. Cox became employed with Defendant as a production worker in
August, 1995.

b. During her employment with Defendant, Ms. Cox developed certain
medical conditions for which she was prescribed certain medications by her treating
physicians.

c: On or about May 7, 2007, Ms. Cox was on a medical leave of absence
when Defendant called her and told her to go to the facility of its drug testing contractor
to submit a urine sample for a drug test.

d. Ms. Cox followed Defendant's instructions and went to Defendant's drug
testing contractor and gave a urine sample to one of the nurses there.

e. The nurse advised Ms, Cox that she had tested positive for certain
chemicals. Ms. Cox provided Defendant's drug testing contractor with proof that she
had prescriptions for the medications for which she had tested positive. The contractor
then reported to Defendant that the result of Ms. Cox's drug test was negative.

f. Defendant left Ms. Cox on medical leave of absence. Despite the
negative result reported by its drug testing contractor, however, Defendant told Ms. Cox
that she had to stop taking her medications and test negative on another drug screen
before she could return to work. Defendant did not conduct an individual assessment of
the effect of Ms. Cox's medications upon her ability to perform her job duties

g. Ms. Cox attempted to stop taking her medications, but experienced severe

medical symptoms when she did so.

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h. Ms. Cox realized that she was not able to stop taking her prescription
medications, and Defendant never allowed her to return to work.

i. Defendant terminated Ms. Cox's employment in September, 2007.

I. Defendant's medical examination, medical inquiries, and use of the
information obtained from the examination and inquiries to condition Ms. Cox's return to
work upon her ceasing to take her prescription medications all violate the ADA and
caused Ms. Cox severe mental and emotional injuries and financial losses, including
lost income.

m. The effect of the practices complained of in paragraphs 15a-| above has
been to deprive Edie Cox of equal employment opportunities and to otherwise adversely
affect her status as an employee in violation of the ADA.

16. The unlawful employment practices included subjecting Charlene
Rawdon to medical examinations and inquiries that violated the ADA, failing to maintain
confidentiality of information Defendant obtained from the medical examinations, and
using the information obtained from these medical examinations and inquiries in a
manner not in accordance with the ADA.

a. Ms. Rawdon became employed with Defendant as a production worker in
October, 1986.

b. During her employment with Defendant, Ms. Rawdon developed certain
medical conditions for which she was prescribed certain medications by her treating
physicians.

Ci On or about May 7, 2007, Ms. Rawdon arrived at work and was required

by Defendant to submit to a drug test as described in J 11d. above despite Defendant's

Vf

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having no cause to suspect that use of drugs was adversely affecting Ms. Rawdon’s job
performance.

d. Ms. Rawdon followed Defendant's instructions to report to a common area
where numerous other employees were waiting to be tested and gave a urine sample to
a nurse who was conducting drug testing for Defendant.

e. Ms. Rawdon waited in the common area with numerous other employees
until the test was complete. The nurse who tested Ms. Rawdon publicly announced in
front of all employees in the area that Ms. Rawdon's urine sample had tested positive
for the presence of certain chemicals. Ms. Rawdon was one of approximately 30
employees who was advised they had tested positive that day.

i Defendant then escorted Ms. Rawdon into the work area to retrieve her
things and then off of Defendant's property. Employees whose urine had tested
negative for any of the chemicals for which Defendant was testing were instructed by
Defendant to return to their work stations. Every employee in Defendant's factory thus
was made aware that Ms. Rawdon had tested positive for a substance in the drug test.

g. As Defendant's managers escorted Ms. Rawdon off of its premises, they
asked her what medications she was taking and for what medical conditions she was
taking them. They told her to bring her medications to its drug testing contractor along
with proof that they had been prescribed for her.

h. The following day, Ms. Rawdon brought her prescription medications and
proof that she had a prescription for each of them to Defendant's drug testing
contractor. After seeing the proof that Ms. Rawdon had prescriptions for her

medications, the drug testing contractor reported to Defendant that the results of Ms.

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Rawdon's drug test were negative.

i. Despite receiving a report that the result of Ms. Rawdon’s drug test was
negative, Defendant did not immediately allow Ms. Rawdon to return to work.

Defendant required her to bring her medications to its facility and show them to its own
managers and describe the medical conditions for which she was taking them.
Defendant placed Ms. Rawdon on a paid medical leave of absence until May 18, 2007.
then placed her on an unpaid medical leave of absence effective May 21, 2007.

j. Defendant advised Ms. Rawdon that she would have to test negative on
another drug screen in order to return to work.

k. On June 4, Ms. Rawdon tested negative and was allowed to return to
work. Without the benefit of her prescription medications, Ms. Rawdon experienced
excruciating pain while performing her job duties.

[. Defendant's medical examination, medical inquiries, disclosure of the
results of the medical examination to Ms. Rawdon’s co-workers, and use of the
information obtained from the examination and inquiries to suspend Ms. Rawdon and
condition her return to work upon her ceasing to take her prescription medication
caused Ms. Rawdon severe mental and emotional injuries and financial losses,
including lost income.

m. The effect of the practices complained of in paragraphs 16a-] above has
been to deprive Charlene Rawdon of equal employment opportunities and to otherwise
adversely affect her status as an employee in violation of the ADA.

17. During the same relevant time period, Defendant also subjected a class of

current and other former employees to drug testing, including medical examinations,

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inquiries that violated the ADA, failed to maintain confidentiality of information
Defendant obtained from the medical examinations, and using the information obtained
from these medical examinations and inquiries in a manner not in accordance with the
ADA.

18. The effect of the practices complained of in paragraphs 17 above has
been to deprive a class of current and former employees of equal employment
opportunities and to otherwise adversely affect their status as an employee in violation
of the ADA.

19. The unlawful employment practices complained of in paragraphs 9
through 18 above were and are intentional.

20. The unlawful employment practices complained of in paragraphs 9
through 18 above were and are done with malice or with reckless indifference to the
federally protected rights of Defendant's employees, including but not limited to those
specifically named above.

PRAYER FOR RELIEF

 

Wherefore, the Commission respectfully requests that this Court:

A. Grant a permanent injunction enjoining Defendant Employer, its officers,
successors, assigns, and all persons in active concert or participation with it, from
conducting drug tests for legally prescribed medications, making inquiries of its
employees about what medications they are taking and/or the conditions for which they
are taking them, taking adverse actions against employees for taking legally prescribed
medications without conducting individualized assessments of the effects of those

medications upon the employees’ performance of their job duties, or disclosing medical

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information about Defendant's employees.

B. Order Defendant Employer to institute and carry out policies, practices,
and programs which provide protection against conducting drug tests for legally
prescribed medications, making inquiries of its employees about what medications they
are taking and/or the conditions for which they are taking them, taking adverse actions
against employees for taking legally prescribed medications without conducting
individualized assessments of the effects of those medications upon the employees
performance of their job duties, or disclosing medical information about Defendant's
employees, and which eradicate the effects of Defendant's past and present unlawful
employment practices.

C. Order Defendant Employer to make whole all employees adversely
affected by Defendant's illegal actions described above, including but not limited to
Annie Corbin, Johnny Gardner, Susan Lowery, Edie Cox, Branson Walker, and
Charlene Rawdon, by providing appropriate backpay and compensatory damages for
their other pecuniary losses with prejudgment interest, in amounts to be determined at
trial, and other affirmative relief necessary to eradicate the effects of Defendant's
unlawful employment practices.

D. Order Defendant Employer to make whole all employees adversely
affected by Defendant's illegal actions described above, including but not limited to
Annie Corbin, Johnny Gardner, Susan Lowery, Edie Cox, Branson Walker, and
Charlene Rawdon, by providing compensation for past and future nonpecuniary losses
resulting from the unlawful practices complained of in paragraphs 9 — 18 above,

including emotional pain, suffering, inconvenience, humiliation, and loss of enjoyment of

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life, in amounts to be determined at trial.

E. Order Defendant Employer to pay all employees adversely affected by
Defendant's illegal actions described above, including but not limited to Annie Corbin,
Johnny Gardner, Susan Lowery, Edie Cox, Branson Walker, and Charlene Rawdon,
punitive damages for its malicious and reckless conduct described in paragraphs 9 - 15
above, in amounts to be determined at trial.

F. Grant such further relief as the Court deems necessary and proper in the
public interest.

G. Award the Commission its costs of this action.

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JURY TRIAL DEMAND
The Commission requests a jury trial on all questions of fact raised by its
Complaint.

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